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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                                  Criminal Action No. 22-38 (BAH)

                          v.                               Judge Beryl A. Howell

 JOLENE EICHER,

                          Defendant.


                                 MEMORANDUM AND ORDER

       Defendant Jolene Eicher, who is facing trial in June 2023 on a superseding information

charging her with four misdemeanors stemming from her alleged conduct at the U.S. Capitol on

January 6, 2021, seeks expanded voir dire during jury selection, with an additional 30-minute

segment of attorney-led voir dire at the conclusion of Court-led voir dire. Def.’s Mot. Partial

Attorney Conducted Voir Dire (“Def.’s Mot.”) at 2–3, ECF No. 58. The motion is denied for the

reasons outlined below.

       I.       DISCUSSION

       The law is clear that “the trial court retains great latitude in deciding what questions should

be asked on voir dire,” Mu’Min v. Virginia, 500 U.S. 415, 424 (1991); accord United States v.

Tsarnaev, 142 S. Ct. 1024, 1034 (2022), including in the “mode and manner of proceeding” and

“the range of questions put to the prospective jurors,” United States v. Littlejohn, 489 F.3d 1335,

1342 (D.C. Cir. 2007) (quoting United States v. Robinson, 475 F.2d 376, 380 (D.C. Cir. 1973)).

That discretion will be exercised here by rejecting defendant’s request for supplemental attorney-

conducted voir dire.

       The applicable procedural rule gives the Court discretion to “examine prospective jurors

or [] permit the attorneys for the parties to do so.” FED. R. CRIM. P. 24(a). To be sure, some Judges


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on this Court allow counsel to ask follow-up questions directly to prospective jurors during voir

dire. See, e.g., United States v. Rhine, Case No. 21-cr-687 (RC), 2023 WL 372044, at *5 (D.D.C.

Jan. 24, 2023) (“[T]he Court grants Defendant’s alternative request for individual questioning

during voir dire.”); United States v. Chwiesiuk, Case No. 21-cr-536 (CKK), 2023 WL 2562517, at

*7 (D.D.C. March 17, 2023) (explaining that the Court’s “trial procedures order” already allows

counsel to “pose brief follow-up questions” to potential jurors during voir dire). This is a matter

of discretion, however.

       Allowing attorney-conducted voir dire may invariably, as the government notes, “extend

proceedings and increase the risk that improper or leading questions are asked to prospective

jurors.” Gov’t’s Opp’n at 2, ECF No. 62; see also C.J. Williams, To Tell You the Truth, Federal

Rule of Criminal Procedure 24(a) Should Be Amended to Permit Attorneys to Conduct Voir Dire

of Prospective Jurors, 67 S. C. L. REV. 35, 62 (2015) (acknowledging, without rebutting, the

criticism “that attorneys abuse the opportunity to question prospective jurors by trying to

improperly influence them”); Reid Hastie, Is Attorney-Conducted Voir Dire an Effective

Procedure for the Selection of Impartial Juries?, 40 AM. U. L. REV. 703, 705 (1991) (“[A] negative

factor in jury selection relates to attorney use of voir dire to systematically indoctrinate jurors by

creating doubts about the credibility of opposition witnesses, or construing the evidence or the law

in a manner to favor their side of the case.”). With the Court in control of voir dire questioning,

the risk of potential jurors being prejudiced or influenced by counsel’s questioning is significantly

mitigated if not outright eliminated.

       Defendant raises a host of arguments in favor of attorney-conducted voir dire, nearly all of

which are resolved by this Court’s voir dire process that meaningfully involves counsel for the

parties. First, defendant urges that attorney-conducted voir dire is an important safeguard to ensure




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that the parties have “sufficient information from the potential jurors upon which to base their

[peremptory] challenges,” Def.’s Mot. at 4, and second, that attorneys’ in-depth knowledge of the

case equips them with better follow-up questions than the Court. Def.’s Mot. at 5–6. Third,

defendant argues that attorney-led voir dire facilitates attorneys in “trying to prove a prima facie

case of discrimination or trying to rebut one,” pursuant to Batson v. Kentucky, 476 U.S. 79 (1986).

Def.’s Mot. at 9–11. Fourth, defendant argues that permitting attorney-led voir dire “avoid[s]

reversible error on appeal,” because parties cannot complain about the jury selection process when

counsel had the opportunity—and still failed—to ask certain questions. Def.’s Mot. at 12–14. All

of these arguments reveal a lack of understanding of this Court’s jury selection process, where the

Court poses questions collectively to the venire panel as a whole, based upon input from the parties

through proposed voir dire questions submitted as part of the parties’ Joint Pretrial Statement.

Then, follow-up questions will be asked of prospective jurors individually, as necessary, after

consultation with counsel for defendant and the government. See FED. R. CRIM. P. 24(a)(2)(B) (“If

the court examines the jurors, it must permit the attorneys for the parties to: . . . submit further

questions that the court may ask if it considers them proper.”). Thus, counsel for both parties will

have the opportunity to propose to the Court follow-up questions to be posed to prospective jurors

to ensure a searching voir dire—allaying defendant’s concerns about the limitations of the Court’s

ability to craft insightful follow-up questions, but without unnecessarily delaying the jury-selection

process and risking prejudicing potential jurors.

       Defendant raises the separate argument that prospective jurors may be less likely to “self-

disclos[e]” to judges than to attorneys due to the former’s “status,” Def.’s Mot. at 6–7—a concern

that would only be allayed by attorney-conducted voir dire. Even assuming that the forty-year-

old social science research that defendant cites for this principle remains accurate, the risk that




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attorneys may ask improper or leading questions outweighs this potential harm. Contrary to

defendant’s argument, questioning by the presiding judge emphasizes the gravity and seriousness

of the process and the necessity for complete honesty. Defendant’s asserted interest in pressing

potential jurors on a “line of question[ing]” regarding their “feelings about whether persons who

went to the United States Capitol on January 6, 2021 (other than persons whose employment

required their presence) committed some crime” underscores this risk, because such questions—

without the moderating role of the Court in pre-screening them—could easily transform into not-

so-subtle attempts at advocacy. Def.’s Reply at 2, ECF No. 65. In this Court’s experience,

including with previous criminal trials arising from the January 6, 2021 riot, potential jurors have

consistently demonstrated candor during the Court-led voir dire process. In the view of this Court,

defendant’s request for attorney-conducted voir dire is both unnecessary and counterproductive.

       II.     ORDER

       For the foregoing reasons, it is hereby

       ORDERED that defendant’s Motion for Partial Attorney Conducted Voir Dire, ECF No.

58, is DENIED.

       SO ORDERED.

       Date: May 23, 2023

                                                     __________________________
                                                     BERYL A. HOWELL
                                                     U.S. District Judge




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